                    UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION


JUDGE JEFFERSON GRIFFIN,

                   Plaintiff,

v.                                                    STATE BOARD’S NOTICE OF
                                                        REMEDIAL EFFORTS
NORTH CAROLINA STATE BOARD OF                       IN RESPONSE TO THE COURT’S
ELECTIONS,                                         APRIL 12, 2025 TEXT ONLY ORDER

                   Defendant,                           Case No. 5:24-cv-00731-M

                         and

ALLISON RIGGS, et al.,

                      Intervenor-Defendants.


NORTH CAROLINA DEMOCRATIC PARTY,

                   Plaintiff,

v.
                                                        Case No. 5:24-cv-00699-M
NORTH CAROLINA STATE BOARD OF
ELECTIONS, et al.,

                   Defendants.



CARRIE CONLEY, et al.,

                   Plaintiffs,

v.                                                      Case No. 5:25-cv-00193-M

ALAN HIRSCH, et al,

                   Defendants.



                                               1

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       Defendant the North Carolina State Board of Elections respectfully submits this notice in

response to this Court’s April 12, 2025 order directing the Board to inform “the court of the

scope of its remedial efforts, including the number of potentially affected voters and the counties

in which those voters cast ballots.” The State Board is aware of pending appeals concerning this

Court’s decision to require the State Board to implement the North Carolina state courts’ orders

while refraining from certifying any result of the election at issue in this case. Various parties

argue that further remedial steps to execute the state courts’ orders may, in and of themselves,

implicate federal constitutional questions. However, pursuant to this Court’s April 12 and April

15, 2025 orders, the State Board summarizes how it intends to approach this administrative

remedial process unless and until directed to do otherwise by court order. The State Board will

promptly report any substantive modifications to this Court or another court with jurisdiction at

the time.

       I.      Identification of Affected Voters.

       Pursuant to the North Carolina Court of Appeals Order, as modified by the North

Carolina Supreme Court, the first step the State and county boards must take is to identify the

challenged voters in the two categories of protests that remain.1

       For Plaintiff Judge Griffin’s protests concerning absentee ballots cast by military and

overseas voters who did not submit a copy of a photo ID or an exception form with their ballots,

these protests affect potentially up to 1,409 voters in Guilford County.2


1
  Certain of the voters referenced in Plaintiff’s protests appear to have been listed several
times. The figures below may therefore count the same voter multiple times. In addition, certain
voters appear to be included within both categories of protests. These voters will receive both
forms of notice.
2
 As indicated in the State Board’s initial decision, only the Guilford County protest was
complete by the deadline to file an election protest under state law.

                                                  2

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         In order to ensure each of the voters challenged are accurately identified as falling within

this category, the Board intends to instruct the Guilford County Board of Elections to assemble

and review the documentation submitted with the absentee ballots cast by each of these 1,409

voters, to confirm that these voters did not submit a copy of a photo ID or an exception form

with their absentee ballots.3 For those who did submit a photo ID or exception form when they

voted, they will necessarily not fall within the category challenged and no further action will be

required with respect to these voters. For those who did not submit such documentation, the

Board will instruct the county board to provide notice to these voters as described below.

         For Plaintiff’s protests concerning absentee ballots cast by overseas voters who possibly

checked the fourth box on question 1 of their federal Voter Registration and Absentee Ballot

Request / Federal Post Card Application (“FPCA”)4 form that states, “I am a U.S. citizen living

outside the country, I have never lived in the United States,” these protests potentially affect up

to 266 voters in fifty-three counties.5


3
  While the majority of military and overseas voters utilized the online portal to submit their
absentee ballots in the election, some submitted ballots via email, mail, or fax. Because the
online portal is not currently configured to accept attachments, only the voters within these latter
subcategories may have submitted additional documentation, even though not required at the
time.
4
    See FPCA Form, https://tinyurl.com/4rxkjvsx, last visited April 15, 2025.
5
  Alamance (one voter), Alleghany (one voter), Ashe (two voters), Avery (one voter), Brunswick
(one voter), Buncombe (nine voters), Burke (two voters), Cabarrus (three voters), Caldwell (one
voter), Carteret (two voters), Catawba (three voters), Cleveland (one voter), Columbus (one
voter), Cumberland (six voters), Currituck (one voter), Dare (one voter), Davie (one voter),
Duplin (one voter), Durham (twenty-three voters), Edgecombe (one voter), Forsyth (fifteen
voters), Gaston (one voter), Guilford (fifteen voters), Halifax (one voter), Harnett (one voter),
Henderson (seven voters), Iredell (seven voters), Jackson (one voter), Johnston (one voter), Lee
(one voter), Lenoir (one voter), Lincoln (four voters), Madison (two voters), Mecklenburg
(twenty-seven voters), Moore (eight voters), Nash (one voter), New Hanover (eight voters),
Onslow (three voters), Orange (thirty-seven voters), Pender (one voter), Person (one voter), Pitt
(two voters), Randolph (one voter), Robeson (one voter), Rutherford (one voter), Scotland (one


                                                  3

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       First, in order to ensure each of the voters challenged are accurately identified as falling

within this category,6 the Board intends to instruct the county boards for these fifty-three

counties to assemble and review the FPCA forms submitted by these 266 voters to confirm that

they did check the fourth box on the form.

       Next, the county boards will review the voter’s registration record and voter history

record to ensure that the voter in question does not have a record of registering previously or

voting previously under a claim of residency in the county. A prior registration form would

show that the voter attested, under penalty of perjury, to an in-county residence in the past.7 A

record of voting in-person or using the absentee voting procedures under Article 20 of Chapter

163 would similarly show that the challenged voter attested, under penalty of perjury, to having

resided within the county during a prior election. In either case, such records would demonstrate

that these voters do not fit within the category of “never residents” under the order of the Court

of Appeals. If such records exist, voters thus will be removed from the list of affected voters.




voter), Swain (one voter), Union (three voters), Vance (one voter), Wake (thirty-nine voters),
Warren (one voter), Watauga (seven voters), and Wilson (three voters).
6
  Recent news reports and a sample internal review of the voter history of these voters indicates
that some have resided in the state previously. See Bryan Anderson, Longtime N.C. Voters May
Have Their Ballots Wrongfully Tossed in Supreme Court Race, The Assembly (Apr. 13, 2025),
https://tinyurl.com/mpadw2zw; Judd Legum et al., North Carolina Supreme Court throws out
hundreds of ballots based on flawed data, Popular Information (Apr. 15, 2025),
https://tinyurl.com/y2wf44be; Paige Masten, NC Supreme Court’s ruling in Griffin case has
some big, glaring problems, The Charlotte Observer (Apr. 15, 2025, 10:18 AM),
https://tinyurl.com/hnfzanjb. It is suspected that these voters were either incorrectly identified as
never residents or inadvertently indicated that they never lived in the United States. Thus, these
steps are necessary to ensure that the State Board is in compliance with the Court of Appeals
order directing the State and county boards to identify the voters who it ruled are not eligible to
vote under state law for failure to satisfy a residency requirement.
7
 See North Carolina Voter Registration Application Form, https://tinyurl.com/jjcnk9bc, last
visited April 15, 2025.

                                                  4

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       Finally, for those that remain after the first two identification steps, the Board will

instruct the county boards to inform these voters via a mailing (and, if possible, by email and

telephone) that their votes were protested and North Carolina courts have ordered the State

Board to discount their vote cast in the 2024 general election for North Carolina Supreme Court

Associate Justice because state records indicate they informed the State that they never resided in

North Carolina when they submitted their absentee ballot request form in the 2024 general

election. The mailing will also inform the voter that this litigation is ongoing and that the voter’s

obligations may therefore be subject to change. In order to ensure these challenged voters were

properly identified and are afforded due process as part of this identification, these voters will

then be provided thirty days from the date of the mailing to submit a sworn affidavit stating that

they have resided in the county and identifying their prior residence address. A template

affidavit will be included with the mailing. Any such voters who provide the affidavit of in-state

residence do not belong in this category and their votes will not be identified for removal.8

       II.     Notice to Affected Voters.

       For challenged voters whose votes were challenged for having voted as overseas or

military voters without meeting the photo ID requirement, the State Board will direct the county

boards to prepare notices to these voters via a mailing (and, if possible, by email and telephone)

about their need to submit a copy of their photo identification, or an affidavit referred to as a

Photo ID Exception Form. For ease of administration, this mailing concerning the photo ID



8
  Under normal state election protest procedures, a voter challenged under an election protest
would be guaranteed notice and an evidentiary hearing to contest the allegations of ineligibility
in the protest. See N.C. Gen. Stat. § 163-182.10(b)–(c). The Court of Appeals order does not
appear to permit this statutory process to play out. However, the State Board interprets the
order’s direction for the county board to “identify the votes from ‘Never Residents’” to afford
any such challenged voters an opportunity to demonstrate to the county board that their votes
should not be so identified, because they are not, in fact, “Never Residents.”
                                                  5

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requirement will be sent to voters at the same time as the other mailing referenced above. A

blank exception form will be included with this mailing, which is included with all absentee

ballot packages and is part of the standard cure process for civilian absentee voters who need to

cure a deficiency with their photo identification documentation.

       These voters will specifically be notified that North Carolina state courts have ordered

the State Board provide them notice that their vote cast in the 2024 general election for North

Carolina Supreme Court Associate Justice will only count if, within thirty days of the date that

the mailing referenced above was sent, these voters submit a copied photo ID or exception form.

The mailing will also inform the voter that this litigation is ongoing and the voter’s obligations

are subject to change. Voters will be informed that copied IDs or exception forms can be

submitted by mail, fax, or submitted electronically via an online portal or email.

       The State Board has begun work with the vendor that maintains its online portal for

processing military and overseas ballots to create a means by which voters may securely submit

copies of photo IDs and exception forms online. So as to ensure as orderly a process as possible,

and to avoid confusion, the State Board will not instruct the county boards to send out the notice

to these voters until this portal is ready. The State Board anticipates the portal to be ready within

a week of entering into a contract. Also, to avoid confusion regarding the deadline for a voter to

respond, the State Board will instruct the county boards to send out all notices on the same date,

so that all challenged voters will have to respond within the same thirty-day period.

       III.    Identifying Ballots With Votes That May Be Discounted.

       For challenged overseas and military voters who voted without providing an ID or

claiming an exception and who now submit a photo ID or exception form, the county board will




                                                  6

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proceed under 08 N.C. Admin. Code 17 .0109 for the review of such photo ID documentation.9

For any challenged military or overseas voters who, within thirty days of the notice being sent,

fails to provide any photo ID documentation or who provides documentation that is not

acceptable under 08 N.C. Admin. Code 17 .0109, the State Board will instruct the county board

to retrieve their ballots for further action consistent with an order from this Court or another

court with jurisdiction.

       For challenged overseas voters who are identified as having never resided in North

Carolina, the State Board will instruct the county board to retrieve their ballots for further action

consistent with an order from this Court or another court with jurisdiction.

       Until this Court or another court with jurisdiction directs the State Board to change the

vote count after having identified the ballots as described above, the State Board will direct the

county boards not to ascertain or discount the votes of any such ballots, and to not reveal to

anyone how any such ballots were voted.

       Should this Court require further information, the State Board stands ready to provide it

upon request.

       Respectfully submitted, this 15th day of April, 2025.

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9
  With the exception of paragraph (d) of the Rule, as the Court of Appeals has now determined
that provision is invalid.
                                                  7

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